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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


THEODORE POTTS,                               )
                                              )
       PLAINTIFF,                             )
                                              )
VS.                                           )         JURY TRIAL DEMANDED
                                              )
PORTFOLIO RECOVERY                            )
ASSOCIATES, LLC,                              )
                                              )
DEFENDANT.                                    )

                           JOINT STIPULATION OF DISMISSAL

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, with the stipulation and agreement of all

Defendants, hereby dismisses this action with prejudice, each party to bear its own costs.

                                                        Respectfully submitted,

                                              CREDIT LAW CENTER LLC

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                                              AND

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                                               Attorney for Defendant


                                  CERTIFICATE OF SERVICE

I certify that on this 23rd day of January, 2018 I electronically filed this Dismissal using the
CM/ECF system, which sent notice of electronic filing to the following:

SPENCER FANE LLP

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